         Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 1 of 8




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
MARIA BOWMAN,

         Plaintiff,                          Civil Action No.

v.

ST. ANTONY’S GROUP, INC. d/b/a               JURY TRIAL DEMANDED
BP QUICK MART, ABRAHAM
KALATHIL, JAIN STEPHEN, and
JAIS STEPHEN,

       Defendants.

                                  COMPLAINT

      Plaintiff Maria Bowman (“Plaintiff”) brings this action against Defendants

St. Antony’s Group, Inc. d/b/a BP Quick Mart (“St. Antony’s”), Abraham Kalathil,

Jain Stephen, and Jais Stephen (collectively, “Defendants”). In violation of the Fair

Labor Standards Act of 1938, 29 U.S.C. §§ 201 et seq. (the “FLSA”), Defendants

willfully failed to pay Plaintiff overtime wages for all hours worked in excess of

forty (40) per week. Instead, Defendants paid Plaintiff straight time for all hours

worked. Plaintiff shows the Court as follows:




                                         1
           Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 2 of 8




                              NATURE OF THE ACTION

      1.      Plaintiff alleges that she is entitled to (a) unpaid overtime wages for

time that she worked in excess of 40 hours per week for which Defendants failed to

pay her at one-and-one-half her regular rate, (b) liquidated damages, (c) interest, and

(d) attorneys’ fees and costs.

                          JURISDICTION AND VENUE
      2.      Pursuant to 28 U.S.C. § 1331, this Court has federal-question

jurisdiction over this Complaint.

      3.      Venue is proper in this district and division pursuant to 28 U.S.C.

§ 1391(b)(2) and Local Rule 3.1(B) because a substantial part of the events and

omissions giving rise to this Complaint occurred within the Atlanta Division of the

Northern District of Georgia, where St. Antony’s Principal Office Address is

located, and where Defendants employed Plaintiff.

                                      PARTIES

      4.      Plaintiff is a resident of the State of Georgia; she submits herself to the

jurisdiction of this Court.

      5.      Plaintiff was employed by Defendants from approximately 2016 until

approximately March 2021. Her last position was Manager.




                                            2
           Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 3 of 8




      6.      Plaintiff was Defendants’ “employee” within the definition of the

FLSA at all times relevant to this Complaint.

      7.      St. Antony’s is a Georgia for-profit corporation. Its principal office

address is 1780 S. Zack Hinton Parkway, McDonough, Georgia 30253.

      8.      St. Antony’s may be served with process through its registered agent,

Umang Thakkar, at 4080 McGinnis Ferry Road, Suite 204, Alpharetta,

Georgia 30005.

      9.      Upon information and belief, St. Antony’s had gross annual revenues

in excess of $500,000.00 at all relevant times.

      10.     Defendant Abraham Kalathil was an owner of St. Antony at all times

relevant to this Complaint and conducted business in the Northern District of

Georgia. On information and belief, Kalathil is a Georgia resident and may be

served with process at his business or residential address.

      11.     Defendant Jain Stephen was an owner of St. Antony at all times relevant

to this Complaint and conducted business in the Northern District of Georgia. On

information and belief, Jain Stephen is a Georgia resident and may be served with

process at his business or residential address.

      12.     Defendant Jais Stephen was an owner of St. Antony at all times relevant

to this Complaint and conducted business in the Northern District of Georgia. On

                                          3
         Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 4 of 8




information and belief, Jais Stephen is a Georgia resident and may be served with

process at his business or residential address.

      13.     At all relevant times, Defendants Abraham Kalathil, Jain Stephen, and

Jais Stephen were “employer[s]” of Plaintiff within the meaning of the FLSA

because they each: asserted control of St. Antony’s day-to-day operations; had

ultimate responsibility for the supervision of Plaintiff; and made the decision not to

pay Plaintiff overtime wages, as required by the FLSA.

      14.     At all relevant times, Defendants were employers engaged in interstate

commerce within the meaning of the FLSA, 29 U.S.C. § 207.

                            STATEMENT OF FACTS

      15.     Defendants operate several liquor stores and gas stations in and around

Henry County, Georgia.

      16.     Plaintiff is a former hourly employee of Defendants and worked at a

variety of stores owned and operated by Defendants. Plaintiff was employed by

Defendants as a Manager from approximately 2016 until approximately

March 2021.

      17.     Throughout her employment with Defendants, Plaintiff worked

between approximately 70 and 85 hours per week. However, despite working



                                          4
         Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 5 of 8




substantial hours in excess of 40 each week, Defendants only paid Plaintiff straight

time for all time worked.

      18.    Pursuant to an unlawful policy and practice applied to Plaintiff,

Defendants recorded that she worked fewer than 40 hours each week in Defendants’

payroll system. Defendants then paid Plaintiff straight time in cash for any time

worked in excess of her recorded hours, including all overtime hours.

      19.    Plaintiff’s last hourly rate was $15.00.

      20.    Plaintiff repeatedly complained about Defendants’ failure to pay her

overtime, including to Defendant Kalathil. However, Kalathil told Plaintiff that she

knew that Defendants would not pay her overtime regardless of the number of

overtime hours that she worked.

      21.    In approximately May 2021, Defendants sold the store location at

which Plaintiff worked, at which time Plaintiff began working for the new owner.

      22.    Defendants knew or should have known that Plaintiff worked

substantial hours in excess of 40 hours per week during her employment with

Defendants because, among other things, Plaintiff complained to Defendant Kalathil

about not receiving overtime pay for time worked in excess of 40 hours per week,

and Defendants purposefully paid Plaintiff straight time in cash for all overtime

hours that Plaintiff worked.

                                          5
          Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 6 of 8




        23.   Defendants did not compensate Plaintiff for all time worked in excess

of 40 per week at the rate required by the FLSA, which is one-and-one-half her

regular rate of pay.

        24.   In addition, Defendants violated the FLSA by failing to maintain

accurate and/or complete records of Plaintiff’s time worked.

        25.   Defendants’ failure to pay Plaintiff one-and-one-half her regular rate of

pay for all hours worked in excess of 40 per week was pursuant to a policy and

practice that Defendants intentionally applied to Plaintiff.

        26.   Defendants’ FLSA violations were willful and not in good faith.

                                   COUNT I
        Willful Failure to Pay Overtime Wages in Violation of the FLSA
        27.   Defendants violated the FLSA by failing to pay Plaintiff overtime at a

rate of one-and-one-half her regular rate for all hours worked in excess of 40 per

week.

        28.   At all relevant times, Plaintiff was engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 207.

        29.   At all relevant times, Defendants employed Plaintiff within the

meaning of the FLSA.

        30.   The overtime wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiff.
                                           6
         Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 7 of 8




      31.    Plaintiff regularly worked substantial hours in excess of 40 per week

during the relevant time period. During this time period, she worked between

approximately 70 and 85 hours per week.

      32.    Throughout the relevant time period, Defendants failed to pay Plaintiff

at one-and-one-half her regular rate of pay for all hours worked in excess of 40 per

week. Instead, Defendants paid Plaintiff straight time for all hours worked.

      33.    As a result of Defendants’ willful failure to compensate Plaintiff at a

rate of one-and-one-half her regular rate for hours worked in excess of 40 per week,

Defendants violated the FLSA.

      34.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a). Because Defendants’ violations of

the FLSA were willful, a three-year statute of limitations applies, pursuant to

29 U.S.C. § 255(a).

      35.    Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiff.

      36.    Due to Defendants’ willful FLSA violations, Plaintiff is entitled to

recover from Defendants her unpaid overtime wages for all of the hours that she

worked in excess of 40 per week, an additional and equal amount as liquidated

damages, interest, and reasonable attorneys’ fees and costs of litigation.

                                          7
           Case 1:21-cv-04046-CAP Document 1 Filed 09/30/21 Page 8 of 8




                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands a TRIAL BY JURY and entry of

judgment granting the following relief:

      a)      A declaratory judgment that Defendants’ failure to pay overtime to

Plaintiff violated the FLSA;

      b)      Application of the FLSA’s three-year statute of limitations;

      c)      An award of all unpaid overtime compensation due under the FLSA;

      d)      An award of liquidated damages;

      e)      Attorneys’ fees and costs;

      f)      An award of prejudgment and post-judgement interest; and

      g)      All further relief as this Court deems just and proper.

              Respectfully submitted, this 30th day of September 2021.

                                               /s/ Michael D. Forrest
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                                           8
